Case 18-12095-BFK          Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41          Desc Main
                                      Document     Page 1 of 18



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 In re:                              )
                                     )
 WW Contractors, Inc.,               )                Case No. 18-12095-BFK
                                     )                Chapter 11
                                     )
                      Debtor.        )
 ____________________________________)

                     APPLICATION TO EMPLOY WHITEFORD,
                TAYLOR & PRESTON, LLP AS COUNSEL TO THE DEBTOR
          WW Contractors, Inc. (the “Debtor”), the debtor and debtor-in-possession in the above

 captioned chapter 11 case, respectfully submits this Application to Employ Whiteford, Taylor &

 Preston, LLP as Counsel to the Debtor (the “Application”) requesting the entry of an order

 pursuant to Section 327(a) of Title 11 of the United States Code (the “Bankruptcy Code”) and

 Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

 authorizing the employment and retention of Whiteford, Taylor & Preston, LLP (“WT&P”) as its

 counsel, effective as of October 22, 2018. The Debtor also submits the Verified Statement of

 Christopher A. Jones attached hereto as Exhibit A (the “Verified Statement”). In support of the

 Application, the Debtor respectfully states as follows:

                                             Jurisdiction

          1.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

 Court pursuant to 28 U.S.C. §§ 1408 and 1409.




 ________________________________________
 WHITEFORD, TAYLOR & PRESTON, LLP
 Christopher A. Jones, VSB# 40064
 David W. Gaffey, VSB# 85088
 Jennifer E. Wuebker, VSB# 91184
 3190 Fairview Park Drive, Suite 800
 Falls Church, Virginia 22042
 Tel: (703) 280-3374

 Proposed Counsel for WW Contractors, Inc.
Case 18-12095-BFK         Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41             Desc Main
                                     Document     Page 2 of 18



                                              Background

         2.      On June 14, 2018, the Debtor filed a voluntary petition under Chapter 11 of the

 Bankruptcy Code in the United States Bankruptcy Court for the District of Maryland (the

 “Maryland Court”).

         3.      On June 14, 2018, the Maryland Court entered an order transferring this case to

 the United States Bankruptcy Court for the Eastern District of Virginia (the “Court”). No official

 committee of unsecured creditors has been formed in this case.

         4.      The Debtor retained Jeffrey M. Sirody & Associates as bankruptcy counsel when
 the case was pending in the Maryland Court. Upon information and belief, counsel at Jeffrey M.

 Sirody & Associates are not licensed to practice law in Virginia.

         5.      Upon the transfer of the case to this Court, the Debtor retained Meridian Law,

 LLC (“Meridian”) as bankruptcy counsel. Meridian’s employment was approved by order of

 this Court entered on August 15, 2018. See Docket No. 75.

         6.      The Debtor has determined in the exercise of its business judgment and consistent

 with its duties as debtor-in-possession that this case is best served by the replacement of

 Meridian with other counsel.

                                           Relief Requested

         7.      The Debtor, in the exercise of its business judgment and consistent with its duties,

 has determined that it requires the advice and guidance of experienced legal counsel to carry out

 its duties under the Bankruptcy Code.

         8.      Pursuant to this Application, the Debtor seeks authority to retain WT&P as its

 counsel regarding all matters related to the Debtor’s chapter 11 case.

         9.      The Debtor selected WT&P because of its experience and knowledge of

 bankruptcy matters and this Court’s Local Rules and practices, and believes WT&P is well

 qualified to represent it in this chapter 11 case.

         10.     The professional services that WT&P will render to the Debtor may include, but

 shall not be limited to, the following:

                                                      2
Case 18-12095-BFK         Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41               Desc Main
                                     Document     Page 3 of 18



                a. providing legal advice regarding the Debtor’s powers and duties under the
                   Bankruptcy Code;

                b. preparing any necessary schedules, applications, motions, memoranda, plans,
                   disclosure statements, briefs, notices, answers, orders, reports and other legal
                   papers, and appearing on the Debtor’s behalf in any proceeding;

                c. handling contested matters and Adversary Proceedings as they arise; and

                d. performing all other legal services for the Debtor which may be necessary or
                   desirable in connection with this chapter 11 case.
        11.     The Debtor believes that it is necessary to employ counsel to render professional

 services to it as described above so that the Debtor may properly fulfill its duties under the

 Bankruptcy Code. The Debtor submits that WT&P is well qualified to handle the legal work

 required in this chapter 11 case.

                            The Standards for Approving Employment

        12.     Section 327(a) empowers a debtor, with the Court’s approval, to employ attorneys

 “that do not hold or represent an interest adverse to the estate, and that are disinterested persons,

 to represent or assist the trustee in carrying out the trustee’s duties under this title.” 11 U.S.C. §

 327(a). Pursuant to section 327(c) of the Bankruptcy Code, “a person is not disqualified for

 employment under [Section 327] solely because of such person’s employment by or

 representation of a creditor . . . .” 11 U.S.C. § 327(c). WT&P satisfies these standards as set
 forth below.

                                Connections with Parties in Interest

        13.     To the best of the Debtor’s knowledge, except as described in the Verified

 Statement, WT&P has no connection with the Debtor, its creditors, or any other party-in-interest

 in this case, their respective attorneys or accountants, the United States Trustee, or any person

 employed in the Office of the United States Trustee.

        14.     The Debtor submits that WT&P represents no interest adverse to the Debtor or to

 the Debtor’s estate in the matters upon which WT&P is to be engaged and is a “disinterested

 person” as that term is defined in section 101(14) of the Bankruptcy Code.

                                                    3
Case 18-12095-BFK         Doc 122    Filed 11/16/18 Entered 11/16/18 18:10:41             Desc Main
                                    Document     Page 4 of 18



                                           Compensation

        15.     Section 328(a) of the Bankruptcy Code permits the employment of a professional

 “on any reasonable terms and conditions of employment, including on a retainer.” 11 U.S.C. §

 328(a). WT&P proposes to render services on an hourly fee basis at its standard rates in effect

 from time to time. The standard rates presently in effect at this time are as follows:

                         Professional                         Hourly Rate
                         Partners:                            $415-$720
                         Associates:                          $310-$405
                         Paralegals/Litigation Support:       $245-$355

        16.     The WT&P attorneys that will be primarily responsible for this engagement are

 Christopher A. Jones, David W. Gaffey, and Jennifer E. Wuebker, whose current standard hourly

 rates are as follows:
                         Professional                         Hourly Rate
                         Christopher A. Jones                 $590
                         David W. Gaffey                      $390
                         Jennifer E. Wuebker                  $345
 These rates are subject to annual adjustment effective January 1 of each year. Other WT&P

 attorneys, paraprofessionals, and legal assistants may provide additional supporting legal

 services as required. WT&P will also bill the estate for all reasonable and necessary out-of-

 pocket expenses incurred as permitted by applicable provisions of the Bankruptcy Code,

 Bankruptcy Rules, and the United States Trustee Guidelines.

        17.     Notwithstanding the foregoing, WT&P has agreed to cap its fees at a blended

 hourly rate for attorneys of $450.00.

        18.     WT&P has not received a retainer in this case to date. To secure its fees in this

 case, the Debtor has agreed to provide a retainer in the amount of $15,000.00 (the “Retainer”).

 Further, the Cash Collateral Budget currently provides for monthly legal fees in the amount of

 $15,000.00. Through this Application, the Debtor seeks authority to remit to WT&P the

 Retainer and any funds authorized in the budget for the payment of legal fees, which funds shall

 secure payment of WT&P’s allowed fees and costs and shall be held in WT&P’s client trust

                                                  4
Case 18-12095-BFK        Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41             Desc Main
                                    Document     Page 5 of 18



 account until such time as the Court enters an order allowing and authorizing the payment of

 such fees and costs. WT&P has contacted First National Bank of Pennsylvania (“FNB”), which

 has a first-priority lien in the Debtor’s assets including accounts receivable, regarding WT&P’s

 retention in this case. As indicated by FNB’s endorsement on the Proposed Order attached

 hereto as Exhibit B, FNB consents to the payment of the Retainer and budgeted legal fees to

 WT&P, provided that the Debtor has the cash flow to make such payments.

        19.     The Debtor requests that WT&P be allowed compensation for its services and

 reimbursement for its expenses in accordance with Sections 330 and 331 of the Bankruptcy Code
 and Bankruptcy Rule 2016, upon submission of appropriate applications therefor in compliance

 with all applicable orders, rules and guidelines, subject to the review and approval of this Court.

                                             Conclusion

        WHEREFORE, the Debtor respectfully requests that the Court enter an order

 substantially in the form of Exhibit B attached hereto (1) approving the Application as set forth

 herein, (2) approving the Debtor’s engagement and retention of WT&P as counsel, effective as

 of October 22, 2018, and (3) granting such other and further relief as it deems just and proper.


 Dated: November 16, 2018                      WHITEFORD TAYLOR & PRESTON, LLP

                                               /s/ David W. Gaffey
                                               Christopher A. Jones, VSB# 40064
                                               David W. Gaffey, VSB# 85088
                                               Jennifer E. Wuebker, VSB# 91184
                                               3190 Fairview Park Drive, Suite 800
                                               Falls Church, Virginia 22042
                                               Telephone: (703) 280-3374
                                               Email: dgaffey@wtplaw.com

                                               Proposed Counsel for WW Contractors, Inc.




                                                  5
Case 18-12095-BFK            Doc 122       Filed 11/16/18 Entered 11/16/18 18:10:41                      Desc Main
                                          Document     Page 6 of 18




                                       CERTIFICATE OF SERVICE

        I hereby certify that on November 16 , 2018, I caused a copy of the foregoing Application
 to be served via the Court’s Electronic Case Filing System on all parties requesting notice
 thereby, and by first-class mail, postage prepaid, on the parties on the attached Service List.1


                                                       /s/ David W. Gaffey
                                                       Counsel




 1 Pursuant to Local Bankruptcy Rule 5005-1(8)(C), the service list is not being served with the mailed version of
 this pleading, but is available electronically via PACER as an attachment to the version filed with the Court.

                                                          6
Case 18-12095-BFK   Doc 122    Filed 11/16/18 Entered 11/16/18 18:10:41   Desc Main
                              Document     Page 7 of 18


                                     Exhibit A




                                         7
Case 18-12095-BFK          Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41         Desc Main
                                      Document     Page 8 of 18


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 In re:                              )
                                     )
 WW Contractors, Inc.,               )               Case No. 18-12095-BFK
                                     )               Chapter 11
                                     )
                      Debtor.        )
 ____________________________________)

                   VERIFIED STATEMENT OF CHRISTOPHER A. JONES
                IN SUPPORT OF APPLICATION TO EMPLOY WHITEFORD,
                TAYLOR & PRESTON, LLP AS COUNSEL TO THE DEBTOR

          I, Christopher A. Jones, declare:

          1.     I am an attorney duly licensed to practice law in the Commonwealths of Virginia

 and am an attorney with Whiteford, Taylor and Preston, LLP (“WTP”). My business address is

 3190 Fairview Park Drive, Suite 800, Falls Church, VA 22042. If called as a witness, I would

 and could testify competently to the matters stated herein. This declaration is submitted pursuant

 to Bankruptcy Rule 2014(a) in support of the Application to Employ Whiteford, Taylor &

 Preston, LLP as Counsel to the Debtor (the “Application”) filed in the above-captioned case of

 WW Contractors, Inc. (the “Debtor”).

          2.     I and WTP understand that if the Court approves the employment of WTP as

 counsel to the Debtor, all compensation and reimbursement of expenses are subject to Court

 review and approval. I and WTP understand and agree that no compensation or reimbursement

 of expenses will be paid unless authorized by the Court. I and WTP further agree to maintain a

 detailed chronological record of the services rendered, time expended, and expenses incurred.



 ________________________________________
 WHITEFORD, TAYLOR & PRESTON, LLP
 Christopher A. Jones, VSB# 40064
 David W. Gaffey, VSB# 85088
 Jennifer E. Wuebker, VSB# 91184
 3190 Fairview Park Drive, Suite 800
 Falls Church, Virginia 22042
 Tel: (703) 280-3374

 Proposed Counsel for WW Contractors, Inc.
Case 18-12095-BFK             Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41                   Desc Main
                                         Document     Page 9 of 18



            4.      In connection with the proposed employment of WTP in this case, I and other

 attorneys at WTP submitted to WTP’s accounting department the names of the Debtor, insiders,

 creditors, and parties in interest for purposes of a conflict review. We also submitted for review

 the name of the United States Trustee (“UST”) and the employees in the UST’s office in

 Alexandria, Virginia. A complete list of the names submitted to WTP’s accounting department

 for purposes of the conflicts check is attached hereto as Exhibit 1.

            5.      To the best of my knowledge, information, and belief, WTP does not have any

 connection with the Debtor, its creditors, other parties in interest, or their respective attorneys
 and accountants, or with the Office of the United States Trustee or anyone employed in the

 Office of the United States Trustee, except as follows:

            A.       WTP represents the following parties-in-interest in matters wholly unrelated to
            the Debtor or this bankruptcy case: AT&T1. The Debtor and AT&T are not presently
            adverse in this or any other matter. In the event any actual adversity arises, WT&P will
            assist the Debtor in obtaining separate counsel with respect to AT&T. For the avoidance
            of doubt, the foregoing representations are not related in any way to the matters for with
            WTP is proposed to be engaged in the Debtor’s case.

            B.      WTP is, or in the past has been, adverse to certain of the Debtor’s creditors and
            parties in interest in matters unrelated to the Debtor.

            C.     WTP has a workers compensation and insurance defense practice through which
            various insurance companies may occasionally retain WTP to defend parties insured by
            such companies. Among the insurance companies occasionally retaining WTP to defend
            insured parties is CNA Insurance.2 WTP does not represent CNA Insurance directly in
            any matter. Further, such insured parties may also happen to be unsecured creditors of
            the Debtor, on matters unrelated to the Debtor or his bankruptcy proceedings. However,
            WTP is not presently aware of any such client-creditor other than those described above.
            6.      To the best of my knowledge, information, and belief, WTP does not hold or

 represent any interest adverse to the estate of the Debtor or to any party in interest in this case.

 WTP is a disinterested person within the meaning of 11 U.S.C. § 101.

            7.      As with any bankruptcy case, it is difficult to say with certainty that all material

 relationships have been discovered at the inception of the case. Accordingly, WTP will

 1
     AT&T is listed in the Debtor’s Accounts Payable Aging Summary as being owed $16.66.
 2
     CNA Insurance is listed in the Debtor’s Accounts Payable Aging Summary as being owed $561.00.
Case 18-12095-BFK        Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41            Desc Main
                                   Document      Page 10 of 18



 periodically update its conflicts database and if any new material relationships are discovered,

 they will be disclosed in a supplemental filing with the Court.

        8.      No promises have been received by WTP, nor by any partner, counsel or associate

 thereof, as to compensation in connection with these cases other than in accordance with the

 provisions of the Bankruptcy Code. WTP has no agreement with any other entity to share with

 such entity any compensation received by WTP in connection with this chapter 11 case.

        9.      I will promptly advise the Court of any circumstances that may cause the

 foregoing facts to change.
        I, Christopher A. Jones, declare under penalty of perjury that the foregoing is true and

 correct.

 Dated: November 16, 2018
                                                      /s/ Christopher A. Jones
                                                      Christopher A. Jones
Case 18-12095-BFK      Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41    Desc Main
                                 Document      Page 11 of 18


                                         Exhibit 1

 WW Contractors Inc.                            Buck Kreihs Marine Repair, LLC
 Mark Myatt                                     Buckeye Cleaning Centers
 Nea E. Wiggins                                 Bud Griffin Customer Support
 Nicea Wiggins                                  Burke Industries
 Nicholas Wiggins                               Burlington Metals, LLC.
 Nikea Wiggins                                  Business Merchant Funding
 Nivea Ratcliff                                 C. N. Robinson Lighting Supply
 Patricia Wiggins                               C.O.P.S. Monitoring
 Timothy Milby                                  Canon Financial Services, Inc.
 Warren Wiggins                                 Capital Partners
 WW Contractors Holding, LLC                    Capp, Inc.
 5-H Services Inc.                              Carson K.C. Mok, Consulting Engineer, P.A
 A & A Glass                                    Cavalier Business Communications
 Ace Alarm & Communications, LLC                Central Pension Fund
 Admiral Elevator Company                       Champion Rentals, Inc.
 Advanced Door Service                          Charles D. Lynn
 Air Filters, Inc.                              Charles King
 Aireco Supply, Inc.                            CHARLES SCHWAB
 Air-Nu Filters                                 Chase Auto Finance
 Alan Pikula                                    Chase Automotive Finance
 All Electric Supply Inc.                       Cheetah Technologies
 Alltemp Insulations                            Cholin Corp., Inc.
 American Education Services                    Cintas Corporation -061, 100,287
 American Express                               City of Sherman
 American Sprinkler Company, Inc.               City of Tyler
 Ameritel Corporation                           CNA Insurance Companies
 Angelos Enterprises                            Coburn Supply Company, Inc.
 AnswerNet                                      Comptroller of Maryland
 Apex Controls 1, LLC                           Concord Mechanical Inc
 Apex Engineering Products Corporation          Control and Instrument Services
 Arkansas Filter,Inc.                           Corrigo, Inc.
 AT&T                                           Corrosion Control Resources
 Atlantic Services, Inc.                        CPR Services
 Automatic Protection Systems                   Crespo's Construction
 Bank of America, N.A.                          Crompco LLC
 Baxter Clean Care                              Culligan Water Conditioning
 Bayview Loan Servicing                         Cummins Mid-South L.L.C.
 Ben Maines Air Conditioning Inc                Darragh Company
 Bernhard Mechanical Contractors, Inc.          Datamax AR Leasing
 Best Plumbing Specialties, Inc.                David's Roofing and Remodeling
 Birch Telecom                                  DCIM Solutions, LLC
 Blue Flash Sewer Service                       DelVal Equipment
 BMW Bank                                       Dennis Canlas
 Bmw Financial Services                         Design Security Controls
Case 18-12095-BFK       Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41   Desc Main
                                  Document      Page 12 of 18


 Dowlin Electric                                 Human Resources, Inc.
 Dudley Burruss                                  Ideal Lighting
 Duff Company                                    Inquiries, Inc.
 DVL Group, Inc.                                 Internal Revenue Service
 Eagle Insulation                                Interstate All Battery Center
 Eastcoast Elevator Services, LLC                Interstate Batteries of Arkansas
 EBF Partners                                    IUOE Local 406
 Ecosave Automation Inc.                         J.A. Sexauer
 Edwin L. Heim Co.                               Jaffe & Asher
 Electrical Power Systems Inc.                   James Wood Jr.
 Emergency Systems Service Co.                   Jason Earl
 Empire Funding                                  Jefferson Battery Co., Inc.
 Entech Sales & Services, Inc.                   Jefferson Sprinkler, Inc
 Everest Business Funding                        John Calvitti Company
 Facility Solutions Group                        John Del Vecchio
 Fairborn Equipment Company Inc                  Johnson Controls, Inc.
 Fairborn Mid Atlantic                           Johnson Supply
 FBI Academy                                     Johnstone of New Orleans
 Federal Express                                 Johnstone Supply
 Ferguson Enterprises, Inc.                      Kele, Inc.
 Ferrara's Heating & Air Co., I                  Kelley Brothers, LLC
 Filtrine Manufacturing Company                  Kenneally & Company
 Firetrol Protection Systems, Inc.               Kensol Airways
 First National Bank of Pennsylvania             Kevin C. McGuire
 First National Insurance                        Kroff Chemical Company, Inc.
 Fleming Controls & Power Specialities           Kubota Credit Corporation USA
 Forward Financing                               Kubota Tractor Corporation
 Fraser Advanced Information Systems             Letsos Company
 Freestate Electrical Service                    LoanMe
 Friedman Electric Supply                        Lubrication Engineers, Inc.
 G&M Electric Sales Co., Inc.                    Machado Landscape LLC.
 Gary Stanley                                    Mac's Restoration LLC
 General Services Administration                 Mara Restoration
 Green's Lawn Care                               Margaret Mead
 Guardian Insurance                              Mark's Plumbing Parts
 H.B. McClure Company                            Maryland Pump, Tank & Electric Company
 HAI Integrated Building Services, Inc.          Mathena Septic Tank
 HAI-WW JV LLC                                   Matthew Leonard
 Hanover Uniform Company                         Maura Zamora
 Harry Kirby                                     McMaster Carr
 Hd Supply Facilities Maintenance                Mercer Group International
 Herman Goldner, Inc.                            Merchant Funding
 Honeywell International Inc                     Mike Marley
 HOP Capital                                     Mine Safety Appliances Company
 Horton Power Vac                                Miner Ltd. d.b.a. House of Doors
 Houston Bearing & Supply Co., Inc.              Mitchell's Lock & Safe Co.,Inc
Case 18-12095-BFK       Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41   Desc Main
                                  Document      Page 13 of 18


 ML Factors Trust                                Rustic Fence Specialists Inc
 Motion Industries                               Sallie Mae
 Mr. Rooter Plumbing                             Sarai Services Payroll
 Mr. ShrinkWrap                                  Sarai Investment Corporation
 MSC Industrial Supply Company. Inc.             Saturn Funding
 National Battery Co.                            Scanex, Inc
 Naughton Energy Corp                            Schneider Paper Products, Inc.
 NC Supply Comapny Inc                           Schwegman Office Products/IS
 New & Associates, LLC                           Security And Data Technologies
 NextWave Solutions                              Shades of Green
 Northern Tool & Equipment Co.                   Shepherd Electric Company
 Nu-Lite-New Orleans Branch                      Sherwin Williams Company
 Oliver Plumbing Incorporated                    Siemen Building Technologies
 Oliver Sprinkler Co., Inc.                      Simplex Grinnell
 Ondeck Capital                                  Sprint
 Overhead Door Company of Tyler                  SSG VVWJV, LLC
 Overhead Door Corporation                       Standard Utility Construction
 Overhead Door of New Orleans                    Stanley Access Technologies
 Paul Whitman                                    Stephens & Company A/C & Heating LLC
 PayPal                                          StopFire, LLC
 Payroll Funding                                 Summit Electric Supply
 PBS Capital                                     Sunbelt Rentals, Inc.
 PBS Solutions                                   SupplyWorks
 Pennsylvania Equipment Sales                    Tate Engineering Systems, Inc.
 Personnel Concepts Limited                      Taylor-Seidenbach, Inc.
 Pitney Bowes                                    Terminix Processing Center
 PJM Mechanical Contractors, Inc.                Teter's Faucet Parts Corp
 Plumbing Specialties, LLC                       Texas Chiller Systems
 Powers of Arkansas                              The Standard
 Precision Psi Inc.                              Thermal Gas Systems
 Pritchett Controls, Inc.                        Thomas Riffe
 Proton Electric                                 Torbik Safe & Lock, Inc.
 Purvis Industries, LTD.                         Total Fire and Safety, Inc.
 Pyramid Waterproofing, Inc.                     Trane HVAC Parts & Supplies
 R. E. Michel Company, Inc.                      Trane U.S., Inc.
 R.W. Luce Co.                                   Travelers
 Refrigeration and ElectriC Supply Co.           Tri Dim Filter Corp.
 Rexel Inc.                                      Trinmar
 Rite Choice Uniforms                            Tyco Integrated Security, LLC
 River Parish Disposal                           Tyrone Bailey
 Robert DeAntonio                                UFS
 Rosen,Sapperstein & Friedlander                 United Healthcare
 Roto-Rooter Services Company                    United Security Services
 Rudd Alarms                                     Universal Plumbing Supply Company
 Rudd Contracting Co., Inc.                      Verizon
 Rumsey Electric Co.                             Veronica Ciaruffoli
Case 18-12095-BFK     Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41   Desc Main
                                Document      Page 14 of 18


 Veronica Williams
 Virginia Fire Protection
 Waltman, Weinberg & Reis Co., LPA
 Washington Redskins
 Waste Management of Little Rock Hauling
 Water Treatment Services Inc.
 Waukesha-Pearce Industrie, Inc.
 Wells Fargo Financial Leasing, Inc.
 World Global Capital
 WW Grainger
 You Grow We Mow
Case 18-12095-BFK   Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41   Desc Main
                              Document      Page 15 of 18


                                      Exhibit B




                                          8
Case 18-12095-BFK          Doc 122      Filed 11/16/18 Entered 11/16/18 18:10:41          Desc Main
                                      Document      Page 16 of 18



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 In re:                              )
                                     )
 WW Contractors, Inc.,               )                 Case No. 18-12095-BFK
                                     )                 Chapter 11
                                     )
                      Debtor.        )
 ____________________________________)

     PROPOSED ORDER GRANTING APPLICATION TO EMPLOY WHITEFORD,
           TAYLOR & PRESTON, LLP AS COUNSEL TO THE DEBTOR
          Upon consideration of the Application to Employ Whiteford, Taylor & Preston, LLP as

 Counsel to the Debtor (the “Application”) filed by WW Contractors, Inc. (the “Debtor”), the

 debtor and debtor-in-possession in the above captioned chapter 11 case, and the Verified

 Statement of Christopher A. Jones in Support of Application to Employ Whiteford, Taylor &

 Preston, LLP as Counsel to the Debtor (the “Verified Statement”); and it appearing that

 Whiteford, Taylor & Preston, LLP (“WT&P”) represents no interest adverse to the Debtor, its

 creditors, or its estate in the matters upon which the firm will be engaged; and the Court finding

 that WT&P’s employment is necessary and proper, and in the best interest of the Debtor; and

 First National Bank of Pennsylvania (“FNB”) having consented to the payment from its cash

 collateral of a retainer in the amount of $15,000 and monthly legal fees that are specifically

 included in the Debtor’s monthly cash collateral budgets that are approved by FNB, provided

 that the Debtor has sufficient cash flow to make such payments, by the Debtor to WT&P to

 secure payment of its legal fees and costs on the terms set forth herein and in the Application;

 and the Court having considered any objections to the Application; and the Court finding that the

 Application was timely filed and that no further notice of the Application is required, it is hereby
 ________________________________________
 WHITEFORD, TAYLOR & PRESTON, LLP
 Christopher A. Jones, VSB# 40064
 David W. Gaffey, VSB# 85088
 Jennifer E. Wuebker, VSB# 91184
 3190 Fairview Park Drive, Suite 800
 Falls Church, Virginia 22042
 Tel: (703) 280-3374

 Proposed Counsel for WW Contractors, Inc.
Case 18-12095-BFK        Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41          Desc Main
                                   Document      Page 17 of 18



        ORDERED that the Application is APPROVED; and it is further

        ORDERED that the employment of WT&P on the terms and conditions outlined in the

 Application is approved effective as of October 22, 2018; and it is further

        ORDERED that the Debtor shall pay to WT&P (1) a retainer in the amount of $15,000.00

 and (2) any amounts budgeted for legal fees in the Debtor’s monthly cash collateral budgets,

 provided that the Debtor has sufficient cash flow to pay such amounts, which amounts shall be

 subject to a security interest in favor of WT&P securing the payment of any fees and costs

 allowed by order of this Court.


 Entered:                                             ________________________________
                                                      United States Bankruptcy Court for the
                                                      Eastern District of Virginia


 WE ASK FOR THIS:

 /s/ David W. Gaffey
 WHITEFORD TAYLOR & PRESTON LLP
 Christopher A. Jones, VSB# 40064
 David W. Gaffey, VSB# 85088
 Jennifer E. Wuebker, VSB# 91184
 3190 Fairview Park Drive, Suite 800
 Falls Church, Virginia 22042
 Telephone: (703) 280-3374
 Email: dgaffey@wtplaw.com

 Proposed Counsel for WW Contractors, Inc.

 SEEN AND NO OBJECTION:

 /s/ David V. Fontana         (by email dated 11/14/18)
 Richard A. DuBose, III
 David V. Fontana
 Gebhardt & Smith LLP
 One South Street, Suite 2200
 Baltimore, MD 21202
 Telephone: (410) 385-5039
 Email: rdubo@gebsmith.com

 Counsel for First National Bank of Pennsylvania

                                                  2
Case 18-12095-BFK     Doc 122     Filed 11/16/18 Entered 11/16/18 18:10:41             Desc Main
                                Document      Page 18 of 18




                     LOCAL RULE 9022-1(C)(1) CERTIFICATION

      I hereby certify that the foregoing order has been endorsed by all necessary parties.


                                                   /s/ David W. Gaffey
                                                   Counsel




                                               3
